Case:17-03283-LTS Doc#:17119 Filed:06/21/21 Entered:06/21/21 11:41:12                              Desc: Main
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                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO

      In re:
                                                                PROMESA
                                                                Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO
                                                                No. 17 BK 3283-LTS
      RICO,
                                                                (Jointly Administered)
                as representative of

      THE COMMONWEALTH OF PUERTO RICO,
      et al.,

                               Debtors.1

                                       CERTIFICATE OF SERVICE

               The undersigned hereby certifies that I caused true and correct copies of the following:

                  Objection of the Official Committee of Retired Employees to Ambac Assurance

                  Corporation’s Urgent Motion for Briefing Schedule with Respect to the Objection of

                  Ambac Assurance Corporation, Pursuant to Bankruptcy Code Section 502 and

                  Bankruptcy Rule 3007, to Claim Asserted by the Official Committee of Retired

                  Employees of the Commonwealth of Puerto Rico Appointed in the Commonwealth’s

                  Title III Case, [Docket No. 17071 in Case No. 17-3283], (The “Objection”)

  to be served in the following manner:




  1
   The Debtors in these jointly-administered PROMESA title III cases (these “Title III Cases”), along with
  each Debtor’s respective title III case number listed as a bankruptcy case number due to software limitations
  and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are: (i)
  Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax
  ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four
  Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (Bankruptcy
  Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System
  of the Government of the Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last
  Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric and Power Authority (Bankruptcy Case
  No. 17 BK 4780) (Last Four Digits of Federal Tax ID: 3747).
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         On June 17, 2021, the Objection was sent through the Court’s CM/ECF system.

         On June 17, 2021, the Objection was sent via email to each of the parties listed in Exhibit

  A attached hereto.

         On June 17, 2021, the Objection was sent via email to the Honorable Laura Taylor Swain

  and Honorable Judith G. Dein at SwainDPRCorresp@nysd.uscourts.gov;

  deindprcorresp@mad.uscourts.gov.

         On June 17, 2021 one copy of the Objection was sent by UPS overnight delivery to Nancy

  J. Gargula, The Office of the United States Trustee for Region 21, Edificio Ochoa, 500 Tanca

  Street, Suite 301, San Juan, Puerto Rico 00901-1922, and

         On June 21, 2021 one copy of the Objection was sent via U.S. mail to each of the parties

  listed in Exhibit B attached hereto.




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   June 21, 2021                                  Respectfully submitted,

   JENNER & BLOCK LLP                             BENNAZAR, GARCÍA & MILIÁN, C.S.P.

   By:                                            By:

   /s/ Robert Gordon                              /s/ A.J. Bennazar-Zequeira

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   Melissa Root (admitted pro hac vice)           Counsel for The Official Committee of
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